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                                 UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


                                                     Case No. 24-cv-02021-VKD
                 Plaintiff(s),
                                                     CONSENT OR DECLINATION
          v.                                         TO MAGISTRATE JUDGE
                                                     JURISDICTION

                 Defendant(s).

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

           CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

           DECLINE Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: April 8
       _______________,   24
                        20____                    NAME: Ivy L. Nowinski


                                                                           Signature
                                          COUNSEL FOR
                                                            BAYSHORE GLOBAL MANGEMENT LLC,
                                                            SEAFLY LLC, SERGEY BRIN, and THEODORE
                                                            M. NEAL
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 1
                                   PROOF OF SERVICE
 2
     STATE OF CALIFORNIA COUNTY OF LOS ANGELES
 3
            I am a resident of the State of California, over the age of eighteen years, and
 4   not a party to the within action. My business address is 1901 Avenue of the Stars,
     Suite 1050, Los Angeles, California 90067-6036. On April 8, 2024, I served the
 5   within document as follows:
 6           CONSENT OR DECLINATION TO MAGISTRATE JUDGE
             JURISDICTION
 7
            (By Facsimile): I caused the above-referenced document(s) to be
 8
          transmitted by facsimile machine to the person(s) at the address(es) set
            forth below.
 9
            (By Mail): As Follows: I am “readily familiar” with the firm’s practice
10          of collection and processing correspondence for mailing to the person(s)
            at the address(es) set forth below. Under that practice, it would be
11

12
          deposited with the U.S. Postal Service on that same day with postage
            thereon fully prepaid at Los Angeles, California, in the ordinary course of
            business. I am aware that on motion of the party served, service is
            presumed invalid if postal cancellation date or postage meter date is more
13          than one day after the date of deposit for mailing in affidavit.
14          (By Personal Service): I caused the above-referenced document(s) to be
15
          personally delivered by hand to the person(s) at the address(es) set forth
            below.
16          (By Electronic Service): I caused the above-referenced document(s) to
17
          be delivered by the Court’s CM/ECF system to the e-mail address of the
            person(s) on record with the Court in this matter as set forth below.
18
                  Elizabeth L. Crooke, Esq.
19                ENGSTROM, LIPSCOMB & LACK
                  11601 Wilshire Boulevard, 14th Floor
20                Los Angeles, California 90025-1744
                  E-mail: bcrooke@elllaw.com
21
           (Federal): I declare under penalty of perjury under the laws of the United
22
     States of America that the foregoing is true and correct.
23

24

25
           Executed on April 8, 2024, at Los Angeles, California.

26
                                                   __           ________________
                                                          Hannah Beck-Kilps
27

28
